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18
19                               UNITED STATES DISTRICT COURT

20                             NORTHERN DISTRICT OF CALIFORNIA

21                                         OAKLAND DIVISION

22    EPIC GAMES, INC.                             Case No. 4:20-cv-05640-YGR

23          Plaintiff, Counter-defendant           DECLARATION OF SEAN CAMERON IN
      v.                                           SUPPORT OF APPLE INC.’S OBJECTIONS
24                                                 TO SPECIAL MASTER RULINGS ON AP-
      APPLE INC.,                                  PLE INC.’S PRODUCTIONS OF RE-RE-
25                                                 VIEWED PRIVILEGE DOCUMENTS
26          Defendant, Counterclaimant

27                                                 The Honorable Thomas S. Hixson

28
     DECLARATION OF SEAN CAMERON IN SUPPORT                            CASE NO. 4:20-CV-05640-YGR
     OF APPLE’S OBJECTIONS TO SPECIAL MASTER
     RULINGS ON APPLE’S PRODUCTIONS
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 1

 2          I, Sean Cameron, declare as follows:
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            1.        I am the Senior Director of App Store Legal at Apple Inc. I have been employed in this
 4
     position since 2023 and I have worked on Apple’s in-house legal team since 2010. In 2021, I was the
 5
     Director of App Store Legal. In my role as head of App Store Legal, I manage a team of product attor-
 6
     neys that respond to novel consumer, developer, and regulatory issues in 175 countries. I am a member
 7

 8   in good standing of the State Bar of New York. I have personal knowledge of the facts set forth in this

 9   declaration and, if called as a witness, could and would competently testify to them.
10          2.        I understand that Apple is appealing certain rulings by the Special Masters regarding Ap-
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     ple’s assertion of the attorney-client privilege and work product protection for certain documents Apple
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     redacted or withheld in connection with injunction compliance proceedings. I submit this declaration to
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     provide further information with respect to certain of these documents. I refer to these documents by
14

15   their corresponding Bates number or entry number on Apple’s privilege log in this matter.

16          3.        In the days and weeks after the District Court’s ruling in September 2021, I was closely

17   involved in Apple’s response to the Injunction ordered by the Court. We were given 90 days from the
18   September 2021 Order to comply. The principal concern in this short timeframe was to find a solution
19
     that would comply with the Injunction and that could be implemented in the narrow window we had.
20
     Entries No. 2854PRIV-APL-EG_00100145) and 2870PRIV-APL-EG_00100329) are emails includ-
21

22   ing senior Apple executives, addressed to or copying me, discussing the preparation of slides for a meet-

23   ing in November 2021. I previously had discussions with senior executives about what options were

24   legally permissible and feasible before the compliance deadline in December. The primary purpose of
25   this meeting was to discuss those solutions in the context of obtaining a stay of the injunction pending
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     appeal or further legal proceedings. Other attorneys and I provided advice to the business regarding
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     legal options.
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     DECLARATION OF SEAN CAMERON IN SUPPORT                                     CASE NO. 4:20-CV-05640-YGR
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      Case 4:20-cv-05640-YGR           Document 1125-1         Filed 01/21/25      Page 3 of 4




 1          4.      Entries No. 2855 (PRIV-APL-EG_00100147) and 2871PRIV-APL-EG_00100331), at-
 2   tachments to those emails, are drafts of the presentation to be used in the meeting. I provided legal
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     advice and input on both the presentations themselves and the broader strategy surrounding our compli-
 4
     ance efforts, including the stay request. It is my view that these documents were created and transmitted
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     for the primary purpose of developing a lawful compliance plan, and were created in connection with
 6

 7   the active litigation with Epic at that time. They reflect legal advice from myself and other attorneys.

 8          5.      One of my legal roles at Apple is updating and revising the App Review Guidelines, with

 9   which developers must comply. In the weeks leading up to Apple’s compliance with the Digital Markets
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     Act (“DMA”) in the European Union, I drafted revisions to the App Review Guidelines to reflect the
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     changes Apple was making as part of its regulatory compliance efforts. Entries No. 2793 (PRIV-APL-
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     EG_00099486), 2797 (PRIV-APL-EG_00099532), and 2805 (PRIV-APL-EG_00099603) are docu-
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     ments containing various draft revisions to the App Store Guidelines in light of ongoing efforts to comply
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15   with the DMA. I drafted the newly proposed language in the revised drafts, which reflect my mental

16   processes. I created these documents and transmitted them to the business for the primary purpose of
17   advising Apple regarding the legal options for revising the Guidelines in light of the then-forthcoming
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     effective date of the DMA.
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     DECLARATION OF SEAN CAMERON IN SUPPORT              2                      CASE NO. 4:20-CV-05640-YGR
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 1         I declare under penalty of perjury that the foregoing is true and correct.

 2         Executed on January 21
                               __, 2025
 3
                                                            By:
 4                                                                Sean Cameron
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     DECLARATION OF SEAN CAMERON IN SUPPORT             3                          CASE NO. 4:20-CV-05640-YGR
     OF APPLE’S OBJECTIONS TO SPECIAL MASTER
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